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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF ARKANSAS
WESTERN DIVISION

MCCALL LAW FIRM, PLLC, on
behalf of itself and all other entities
and persons similarly situated,

Plaintiff,

VS.

Case No.: 4:15-CV-737 KGB
CRYSTAL QUEEN, INC., et al.,

Defendant.

DEFENDANT CRYSTAL OUEEN INC.’S OBJECTIONS AND RESPONSES
TO PLAINTIFF’S FIRST SET OF INTERROGATORIES
AND REQUESTS F()R ADMISSION

Defendant Crystal Queen, Inc. (“Crystal Queen”), for itself and itself alone, pursuant to
Federal Rules of Civil Procedure 26, 33 and 36, hereby makes the following objections and

responses to Plaintiff`s First lnterrogatories and Requests for Admissions.

GENERAL OBJECTIONS

Crystal Queen makes the following general objections with respect to each of the specific
lnterrogatories and Requests for Admissions below:

l. Crystal Queen objects to Plaintiffs’ definitions and instructions to the extent they
purport to impose discovery obligations broader than those imposed by the Federal Rules of
Civil Procedure, the Court’s Orders, and and/or the rules and requirements of the nation of
Canada and the province of Ontario, and to the extent they call upon Crystal Queen to violate
Canadian or Ontario provincial laws, or to disclose information or documents protected by the

attorney-client privilege, the joint defense privilege, and/or the work product doctrine.

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2. These responses are made solely for purposes of this civil action. Each response
is subject to any and all objections as to competency, relevancy, materiality, propriety and
admissibility, and to any and all other objections and grounds that would require the exclusion of
any statement made herein if any such statement were made by, or if any questions were asked
of, a witness present and testifying in court, all of which objections and grounds are hereby
expressly reserved and may be interposed later at or before the time of trial.

3. Crystal Queen has not completed its investigation of this action, has not
completed discovery, and has not completed trial preparation The responses hereinafter are
based on Crystal Queen’s knowledge, information and belief at this time, and are made without
prejudice to the foregoing and following objections Subject to Rule 26(e), Crystal Queen
specifically reserves the right to amend and/or supplement its responses herein at any time or to
introduce facts not contained herein if it should appear at any time that omissions or errors have
been made or if it obtains additional or more accurate information. Crystal Queen further
reserves the right to rely upon such facts, and persons having knowledge of such facts, as may be
derived through future discovery or through its continuing investigation in this matter or as may
be adduced at trial.

4. The following responses are based upon information and writings presently
available to and located by Crystal Queen and its attorneys and, except for explicit facts
expressly set forth herein, no incidental or implied admissions are intended hereby. The fact that
Crystal Queen has responded or objected to any interrogatory or request for admission or part
thereof is not intended to be and should not be construed to be an admission that Crystal Queen
accepts or admits the existence of any “facts” set forth or assumed by such interrogatory or

request for admission, or that such response or objection constitutes admissible evidence. The

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fact that Crystal Queen has responded to part or all of any interrogatory or request for admission
is not intended to be and shall not be construed to be a waiver of all or any part of any objection
to any interrogatory or request for admission made herein.

5. To the extent any or all of the interrogatories or requests for admission seek
information prepared in anticipation or defense of litigation or for trial, or for information
protected from disclosure by the attorney work product doctrine, the attorney-client privilege,
common-interest or joint prosecution/defense privilege, or any other rule of privilege or
confidentiality provided by law, Crystal Queen objects to each and every such interrogatory and
request for admission, and thus will not produce such information. This objection extends to and
includes interrogatories and requests for admissions requesting the identities of individuals with
knowledge of matters, where such persons are counsel for Crystal Queen or obtained such
knowledge solely through communications with counsel for Crystal Queen. Any inadvertent
disclosure of such information, or documents underlying such information, shall not be deemed a
waiver of any privilege or immunity.

6. Crystal Queen has made reasonable efforts to respond to the interrogatories and
requests for admissions as it understands and reasonably interprets them. If Crystal Queen
subsequently asserts an interpretation that differs from that which Crystal Queen made in
responding herein, Crystal Queen reserves its right to supplement or amend the responses and
objections accordingly, in the event it is required to do so under Rule 26(e).

These General Obj ections are incorporated into each specific response below.

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RESPONSES TO INTERROGATORIES
RE§ !UEST NO. 1:
Identify any contractor, agent, or any third-party vendor which provided you the service
of creating, and/or transmitting faxes, by or on behalf of Crystal, for the purpose of marketing
Crystal’s goods, products, and or services.

RESPONSE:

Crystal Queen objects to this interrogatory because it calls for disclosure of information
ascertained from documents and/or information protected from disclosure by privacy,
confidentiality, and other laws of Canada and/or the Province of Ontario, including but not
limited to the Canadian Personal Information Protection and Electronic Documents Act
(“PIPEDA”) and/or the Ontario Business Records Protection Act (“OBRPA”), and Plaintiff has
yet to obtain an appropriate order from the Ontario Superior Court of Justice or other proper
Canadian authority authorizing production of such documents or information contained in such
documents Crystal Queen further objects to this interrogatory on the ground that it is overly
broad to the extent it seeks information beyond what is pertinent to the faxes at issue.
REQUEST NO. 2:

Identify all monetary compensation paid by you to any contractor, agent, or any third
party vendor for the creation or transmission of faxes by or on behalf of Crystal.

RESP()NSE:

Crystal Queen objects to this interrogatory on the ground that it is not pertinent to any
issue in this lawsuit and additionally is overly broad both in time and because it seeks
information beyond what is pertinent to the faxes at issue. Crystal Queen further objects to this
interrogatory because it calls for disclosure of information ascertained from documents and/or

information protected from disclosure by privacy, confidentiality, and other laws of Canada

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and/or the Province of Ontario, including but not limited to PIPEDA and/or OBRPA, and
Plaintiff has yet to obtain an appropriate order from the Ontario Superior Court of Justice or

other proper Canadian authority authorizing production of such documents or information

contained in such documents

REQUEST N(). 3:

Identify all communications between Crystal and any contractor, agent, or third party
vendor explaining how faxes will be generated or to whom or which businesses they will be sent.
RESPONSE:

Crystal Queen objects to this interrogatory on the ground that it is overly broad both in
time and because it seeks information beyond what is pertinent to the faxes at issue. Crystal
Queen further objects to this interrogatory because it calls for disclosure of information
ascertained from documents and/or information protected from disclosure by privacy,
confidentiality, and other laws of Canada and/or the Province of Ontario, including but not
limited to PIPEDA and/or OBRPA, and Plaintiff has yet to obtain an appropriate order from the
Ontario Superior Court of Justice or other proper Canadian authority authorizing production of
such documents or information contained in such documents
RE§ !UEST NO. 4:

Identify all communications between Crystal and any contractor, agent, or third party
vendor explaining how customer lists will be generated and/or which customers will be targeted.
RESP()NSE:

Crystal Queen objects to this interrogatory on the ground that it is overly broad both in
time and because it seeks information beyond what is pertinent to the faxes at issue. Crystal

Queen further objects to this interrogatory because it calls for disclosure of information

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ascertained from documents and/or information protected from disclosure by privacy,
confidentiality, and other laws of Canada and/or the Province of Ontario, including but not
limited to PIPEDA and/or OBRPA, and Plaintiff has yet to obtain an appropriate order from the

Gntario Superior Court of Justice or other proper Canadian authority authorizing production of

such documents or information contained in such documents

REQUEST NO. 5:

Identify all communications between Crystal and any contractor, agent, or third party
vendor related to what content will be placed on faxes, including but not limited to, marketing,
address, website, phone number, and opt-out information
RESP()NSE:

Crystal Queen objects to this interrogatory on the ground that it is overly broad both in
time and because it seeks information beyond what is pertinent to the faxes at issue. Crystal
Queen further objects to this interrogatory because it calls for disclosure of information
ascertained from documents and/or information protected from disclosure by privacy,
confidentiality, and other laws of Canada and/or the Province of Ontario, including but not
limited to PlPEDA and/or OBRPA, and Plaintiff has yet to obtain an appropriate order from the
Ontario Superior Court of Justice or other proper Canadian authority authorizing production of
such documents or information contained in such documents
RE§ ZUEST NO. 6:

Identify all individuals who decided what content will be placed on faxes, including but
not limited to, marketing, address, website, phone number, opt-out information, and/or any

information related to the actual individuals or entities who provide the goods or services

described in the fax.

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RESP()NSE:

Crystal Queen objects to this interrogatory on the ground that it is overly broad both in
time and because it seeks information beyond what is pertinent to the faxes at issue. Crystal
Queen further objects to this interrogatory because it calls for disclosure of information
ascertained from documents and/or information protected from disclosure by privacy,
confidentiality, and other laws of Canada and/or the Province of Ontario, including but not
limited to PIPEDA and/or OBRPA, and Plaintiff has yet to obtain an appropriate order from the
Gntario Superior Court of Justice or other proper Canadian authority authorizing production of
such documents or information contained in such documents
REQUEST NO. 7:

Identify all individuals or entities to whom Crystal sent faxes marketing goods, products,

or services
RESPONSE:

Crystal Queen objects to this interrogatory on the ground that it is overly broad both in
time and because it seeks information beyond what is pertinent to the faxes at issue. Crystal
Queen further objects to this interrogatory because it calls for disclosure of information
ascertained from documents and/or information protected from disclosure by privacy,
confidentiality, and other laws of Canada and/or the Province of Ontario, including but not
limited to PIPEDA and/or OBRPA, and Plaintiff has yet to obtain an appropriate order from the
Ontario Superior Court of Justice or other proper Canadian authority authorizing production of
such documents or information contained in such documents Crystal Queen further objects to
this interrogatory on the grounds that it is premature and seeks information as to a class that has

been neither identified nor certified

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RE§ !UEST NO. 8:

Identify any alleged consent provided from any individual or entity to receive faxes
regarding Crystal’s goods, products, and or services
RESPONSE:

Crystal Queen objects to this interrogatory on the ground that it is overly broad both in
time and because it seeks information beyond what is pertinent to the faxes at issue. Crystal
Queen further objects to this interrogatory because it calls for disclosure of information
ascertained from documents and/or information protected from disclosure by privacy,
confidentiality, and other laws of Canada and/or the Province of Ontario, including but not
limited to PIPEDA and/or CBRPA, and Plaintiff has yet to obtain an appropriate order from the
Ontario Superior Court of Justice or other proper Canadian authority authorizing production of
such documents or information contained in such documents Crystal Queen further objects to
this interrogatory as premature to the extent it seeks information regarding putative class
members before a class has been identified or certified.

REQUEST NO. 9:

Identify any alleged established relationship with any individual or entity for the purpose
of transmitting faxes to market Crystal’s goods, products, and or services
RESPONSE:

Crystal Queen objects to this interrogatory on the ground that it is overly broad both in
time and because it seeks information beyond what is pertinent to the faxes at issue. Crystal
Queen further objects to this interrogatory because it calls for disclosure of information
ascertained from documents and/or information protected from disclosure by privacy,

confidentiality, and other laws of Canada and/or the Province of Ontario, including but not

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limited to PIPEDA and/or OBRPA, and Plaintiff has yet to obtain an appropriate order from the
Ontario Superior Court of Justice or other proper Canadian authority authorizing production of
such documents or information contained in such documents Crystal Queen further objects to

this interrogatory because it is vague and ambiguous as to the meaning of the term “relationship”

as used in this interrogatory.
RE§ !UEST NO. 10:
ldentify:
a) All incoming calls to offer response numbers or numbers to add/remove name from any
database, list, or other means of storing customer fax numbers

b) All incoming calls or other communications requesting to opt-out from receiving any faxes

from Crystal.

RESPONSE:

Crystal Queen objects to this interrogatory on the ground that it is overly broad both in
time and because it seeks information beyond what is pertinent to the faxes at issue. Crystal
Queen further objects to this interrogatory because it calls for disclosure of information
ascertained from documents and/or information protected from disclosure by privacy,
confidentiality, and other laws of Canada and/or the Province of ()ntario, including but not
limited to PIPEDA and/or OBRPA, and Plaintiff has yet to obtain an appropriate order from the
Ontario Superior Court of Justice or other proper Canadian authority authorizing production of
such documents or information contained in such documents Crystal Queen further objects to
this interrogatory as premature to the extent it seeks information regarding putative class

members before a class has been identified or certified.

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RE§ !UEST NO. 11:

Identify the source for any list of individuals and entities to whom fax transmissions
marketing Crystal’s goods, products, and or services were sent.
RESPONSE:

Crystal Queen objects to this interrogatory on the ground that it is overly broad both in
time and because it seeks information beyond what is pertinent to the faxes at issue. Crystal
Queen further objects to this interrogatory because it calls for disclosure of information
ascertained from documents and/or information protected from disclosure by privacy,
confidentiality, and other laws of Canada and/or the Province of Ontario, including but not
limited to PIPEDA and/or OBRPA, and Plaintiff has yet to obtain an appropriate order from the
Ontario Superior Court of Justice or other proper Canadian authority authorizing production of
such documents or information contained in such documents Crystal Queen further objects to
this interrogatory as premature to the extent it seeks information regarding putative class
members before a class has been identified or certified
RE§ !UEST N(). 12:

Identify all individuals or entities with an ownership stake in Crystal, including each

stakeholder’s percentage interest.

RESPONSE:

Crystal Queen objects to this interrogatory on the ground that it seeks confidential
information of Crystal Queen and third parties that is not pertinent to any issue in this lawsuit.
Crystal Queen further objects to this interrogatory because it calls for disclosure of information
ascertained from documents and/or information protected from disclosure by privacy,

confidentiality, and other laws of Canada and/or the Province of Ontario, including but not

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limited to PIPEDA and/or OBRPA, and Plaintiff has yet to obtain an appropriate order from the

Ontario Superior Court of Justice or other proper Canadian authority authorizing production of

such documents or information contained in such documents

RE§ !UEST NO. 13:

Identify Crystal’s accountant(s) responsible for preparing its tax return and/or annual or

quarterly financial statements

RESPONSE:

Crystal Queen objects to this interrogatory on the ground that it is not pertinent to any
issue in this lawsuit, Crystal Queen further objects to this interrogatory because it calls for
disclosure of information ascertained from documents and/or information protected from
disclosure by privacy, confidentiality, and other laws of Canada and/or the Province of Ontario,
including but not limited to PIPEDA and/or OBRPA, and Plaintiff has yet to obtain an
appropriate order from the Ontario Superior Court of Justice or other proper Canadian authority
authorizing production of such documents or information contained in such documents
REQUEST NO. 14:

Identify all monetary amounts received by Rudolf and Adriana Galan as a result of their
employment and/or stakeholder interest in Crystal.

RESPONSE:

Crystal Queen objects to this interrogatory on the ground that it is not pertinent to any
issue in this lawsuit and is overly broad in time and scope. Crystal Queen further objects to this
interrogatory because it calls for disclosure of information ascertained from documents and/or
information protected from disclosure by privacy, confidentiality, and other laws of Canada

and/or the Province of Ontario, including but not limited to OBRPA, and Plaintiff has yet to

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obtain an appropriate order from the Ontario Superior Court of Justice or other proper Canadian
authority authorizing production of such documents or information contained in such documents

Crystal Queen further objects to this interrogatory because it seeks confidential financial

information regarding individuals

RE§ !UEST NO. 152

Identify all employees engaged in the creating, and/or transmitting faxes, by or on behalf
of Crystal, for the purpose of marketing Crystal’s goods, products, and or services, and list their

positions and responsibilities

RESPONSE:

Crystal Queen objects to this interrogatory on the ground that it is overly broad both in
time and because it seeks information beyond what is pertinent to the faxes at issue. Crystal
Queen further objects to this interrogatory because it calls for disclosure of information
ascertained from documents and/or information protected from disclosure by privacy,
confidentiality, and other laws of Canada and/or the Province of Ontario, including but not
limited to OBRPA, and Plaintiff has yet to obtain an appropriate order from the Ontario Superior
Court of Justice or other proper Canadian authority authorizing production of such documents or

information contained in such documents

RE§ !UEST NO. 162

identify any insurance policies covering Crystal and/or its officers and directors,
including specifically any Director’s and Officer’s Insurance.
RESP()NSE:

Crystal Queen objects to this interrogatory because it is overly broad in time and scope.

Crystal Queen further objects to this interrogatory to the extent it calls for disclosure of

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information ascertained from documents and/or information protected from disclosure by
privacy, confidentiality, and other laws of Canada and/or the Province of Ontario, including but
not limited to PIPEDA and/or OBRPA, and Plaintiff has yet to obtain an appropriate order from
the Ontario Superior Court of Justice or other proper Canadian authority authorizing production
of such documents or information contained in such documents

RE§ !UEST NO. 17:

Identify all communications from Crystal regarding the subject matter of this litigation
RESPONSE:

Crystal Queen objects to this interrogatory to the extent it seeks information protected
from disclosure by the attorney-client privilege, work product doctrine, and/or any other
applicable privilege. Crystal Queen further objects to this interrogatory to the extent it calls for
disclosure of information ascertained from documents and/or information protected from
disclosure by privacy, confidentiality, and other laws of Canada and/or the Province of Ontario,
including but not limited to PIPEDA and/or OBRPA, and Plaintiff has yet to obtain an
appropriate order from the Ontario Superior Court of Justice or other proper Canadian authority
authorizing production of such documents or information contained in such documents
REQUEST NO. 18:

Identify all communications from Crystal regarding the marketing of its goods, products
or services through the use of facsimiles.

RESPONSE:
Crystal Queen objects to this interrogatory to the extent it seeks information protected
from disclosure by the attorney-client privilege, work product doctrine, the spousal privilege,

and/or any other applicable privilege Crystal Queen further objects to this interrogatory on the

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ground that it is overly broad both in time and because it seeks information not pertinent to the
faxes at issue. Crystal Queen further objects to this interrogatory because it calls for disclosure
of information ascertained from documents and/or information protected from disclosure by
privacy, confidentiality, and other laws of Canada and/or the Province of Ontario, including but
not limited to PIPEDA and/or OBRPA, and Plaintiff has yet to obtain an appropriate order from
the Ontario Superior Court of Justice or other proper Canadian authority authorizing production
of such documents or information contained in such documents Crystal Queen further objects to

this interrogatory as premature to the extent it seeks information regarding putative class

members before a class has been identified or certified
REQUEST NO. 19:

Identify all communications from Crystal regarding any attempts to comply with the
requirements of the Telephone Consumer Protection Act of 1991 , the Junk Fax Prevention Act of
2003, or with any federal regulations promulgating the same in the marketing of its goods,
products, or services through the use of facsimiles.

RESPONSE:

Crystal Queen objects to this interrogatory to the extent it seeks information protected
from disclosure by the attorney-client privilege, work product doctrine, and/or any other
applicable privilege. Crystal Queen further objects to this interrogatory on the ground that it is
overly broad in time. Crystal Queen further objects to this interrogatory to the extent it calls for
disclosure of information ascertained from documents and/or information protected from
disclosure by privacy, confidentiality, and other laws of Canada and/or the Province of Ontario,

including but not limited to PIPEDA and/or OBRPA, and Plaintiff has yet to obtain an

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appropriate order from the Ontario Superior Court of Justice or other proper Canadian authority
authorizing production of such documents or information contained in such documents
RE§ !UEST NO. 202

Identify the number of distinct telephone numbers to which Crystal successfully
transmitted a facsimile marketing its goods, products or services If Crystal sent more than one

facsimile marketing its goods, products, or services to a particular number, please identify the
total number of facsimiles sent to that number.

RESPONSE:

Crystal Queen objects to this interrogatory on the ground that it is overly broad both in
time and because it seeks information beyond what is pertinent to the faxes at issue. Crystal
Queen further objects to this interrogatory because it calls for disclosure of information
ascertained from documents and/or information protected from disclosure by privacy,
confidentiality, and other laws of Canada and/or the Province of Ontario, including but not
limited to PIPEDA and/or OBRPA, and Plaintiff has yet to obtain an appropriate order from the
Ontario Superior Court of Justice or other proper Canadian authority authorizing production of
such documents or information contained in such documents Crystal Queen further objects to

this interrogatory as premature to the extent it seeks information regarding putative class

members before a class has been identified or certified
REQUEST NO. 21:

Identify any responses received directly or indirectly from any of the individuals or
entities to which Crystal successfully transmitted a facsimile marketing its goods, products or

services including specifically, but not limited to, any request to “opt-out” from receiving faxes

in the future.

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RESPONSE:

Crystal Queen objects to this interrogatory on the ground that it is overly broad both in
time and because it seeks information beyond what is pertinent to the faxes at issue. Crystal
Queen further objects to this interrogatory because it calls for disclosure of information
ascertained from documents and/or information protected from disclosure by privacy,
confidentiality, and other laws of Canada and/or the Province of Ontario, including but not
limited to PIPEDA and/or OBRPA, and Plaintiff has yet to obtain an appropriate order from the
Ontario Superior Court of Justice or other proper Canadian authority authorizing production of
such documents or information contained in such documents Crystal Queen further objects to

this interrogatory as premature to the extent it seeks information regarding putative class

members before a class has been identified or certified
RE§ !UEST NO. 22:

Identify those telephone numbers to which Crystal successfully transmitted a facsimile
marketing its goods, products or services after it received a response from that telephone number
requesting to “opt-out” from receiving faxes in the future.

RESPONSE:

Crystal Queen objects to this interrogatory on the ground that it is overly broad both in
time and because it seeks information beyond what is pertinent to the faxes at issue. Crystal
Queen further objects to this interrogatory because it calls for disclosure of information
ascertained from documents and/or information protected from disclosure by privacy,
confidentiality, and other laws of Canada and/or the Province of Ontario, including but not
limited to PIPEDA and/or OBRPA, and Plaintiff has yet to obtain an appropriate order from the

Ontario Superior Court of Justice or other proper Canadian authority authorizing production of

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such documents or information contained in such documents Crystal Queen further objects to
this interrogatory as premature to the extent it seeks information regarding putative class
members before a class has been identified or certified Crystal Queen further objects to this
interrogatory because it is based on the unsupported assumption that Crystal Queen transmits
faxes to recipients who have notified Crystal Queen of a desire not to receive faxes from Crystal.
REQUEST NO. 23:

Identify any contacts between Crystal and any individual or entity located in the State of
Arkansas, including specifically all visits communications business conducted, or monies
exchanged with any individual or entity located in Arkansas
RESPONSE:

Crystal Queen objects to this interrogatory on the ground that it is not pertinent to the
issues in this lawsuit and is overly broad in time and scope. Crystal Queen further objects to this
interrogatory because it calls for disclosure of information ascertained from documents and/or
information protected from disclosure by privacy, confidentiality, and other laws of Canada
and/or the Province of Ontario, including but not limited to PlPEDA and/or OBRPA, and
Plaintiff has yet to obtain an appropriate order from the Ontario Superior Court of Justice or
other proper Canadian authority authorizing production of such documents or information
contained in such documents Crystal Queen further objects to this interrogatory as premature to

the extent it seeks information regarding putative class members before a class has been

identified or certified

RE UEST NO. 24:

Identify all persons consulted by Crystal in answering these lnterrogatories.

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RESPONSE:

Crystal Queen objects to this interrogatory to the extent it seeks information protected
from disclosure by the attorney-client privilege and/or work product doctrine.

RE UEST NO. 25:

Identify all documents mentioned used, or consulted to answer any Interrogatory.
RESPONSE:

Crystal Queen objects to this interrogatory because it calls for disclosure of information
ascertained from documents and/or information protected from disclosure by privacy,
confidentiality, and other laws of Canada and/or the Province of Ontario, including but not
limited to PIPEDA and/or OBRPA, and Plaintiff has yet to obtain an appropriate order from the
Ontario Superior Court of Justice or other proper Canadian authority authorizing production of
such documents or information contained in such documents
REQUEST NO. 26:

Identify all faxes/fax templates transmitted by or on behalf of Crystal which marketed
Crystal’s goods products and or services
RESPONSE:

Crystal Queen objects to this interrogatory because it exceeds the number of
interrogatories permitted by the Federal Rules of Civil Procedure. Crystal Queen further objects
to this interrogatory on the grounds that it is overly broad both in time and because it seeks
information beyond what is pertinent to the faxes at issue. Crystal Queen further objects to this
interrogatory because it calls for disclosure of information ascertained from documents and/or
information protected from disclosure by privacy, confidentiality, and other laws of Canada

and/or the Province of Ontario, including but not limited to PIPEDA and/or OBRPA, and

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Plaintiff has yet to obtain an appropriate order from the Ontario Superior Court of Justice or
other proper Canadian authority authorizing production of such documents or information
contained in such documents Crystal Queen further objects to this interrogatory as premature to

the extent it seeks information regarding putative class members before a class has been

identified or certified

RESPONSES TO REOUESTS FOR ADMISSION

REQUEST FOR ADMISSION NO. 1: Please admit that you sent Plaintiff the fax attached
to the Complaint in this matter.

RESPONSE: Crystal Queen objects to this and each of Plaintiff s requests for admission
because they do not comply with Local Rule 33.1(c), which requires that requests for admissions
be set forth in a separate document. ln further response, Crystal Queen states that it lacks
information and knowledge sufficient to ascertain whether the fax attached to Plaintiffs
Complaint was transmitted to Plaintiff. For these reasons and subject to and without waiving

the foregoing objection, Crystal Queen responds as follows: Deny.

REQUEST FOR ADMISSION NO. 2: Please admit that the fax attached to the Complaint
in this matter does not contain the TCPA opt-out disclosures identified as absent in the
Complaint

RESPONSE: Crystal Queen objects to this and each of Plaintiff s requests for admission
because they do not comply with Local Rule 33.1(0), which requires that requests for admissions
be set forth in a separate document Crystal Queen further objects to this request because it calls
for a legal conclusion which Crystal Queen is not qualified to make. For these reasons and

subject to and without waiving the foregoing objections Crystal Queen responds as follows:

Deny.

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REQUEST FOR ADMISSION NO. 3: Please admit that you did not obtain prior
permission or consent to transmit to Plaintiff, the fax attached to the Complaint in this matter.

RESPONSE: Crystal Queen objects to this and each of Plaintiff s requests for admission
because they do not comply with Local Rule 33.1(0), which requires that requests for admissions
be set forth in a separate document Crystal Queen further objects to this request on the ground
that it is vague and ambiguous as to the meaning of the phrase “permission or consent” as used in
the TCPA. For these reasons subject to and without waiving the foregoing objections and

further subject to its understanding of this request, Crystal Queen responds as follows: Deny.

REQUEST FOR ADMISSION NO. 4: Please admit that the transmission fax attached to
the Complaint in this matter was not preceded by an existing business relationship with the
recipient

RESPONSE: Crystal Queen objects to this and each of Plaintiffs requests for admission
because they do not comply with Local Rule 33.1(0), which requires that requests for admissions
be set forth in a separate document Crystal Queen further objects to this request on the grounds
that it is vague and ambiguous as to the meaning of the phrases “transmission fax” and “existing
business relationship” as used in this request. ln further response, Crystal Queen states that it
lacks information and knowledge sufficient to ascertain whether an existing business relationship
preceded the fax attached to Plaintiff s Complaint. For these reasons subject to and without
waiving the foregoing objection, and further subject to its understanding of this request, Crystal

Queen responds as follows: Deny.

REQUEST FOR ADMISSION NO. 5: Please admit that you sent a minimum of 50,000
faxes marketing Crystal's goods or services since February 1, 2011, that (l) do not contain the
required TCPA opt-out disclosures identified as absent in the Complaint, (2) were not preceded

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by prior consent to transmit from the recipient, and (3) were not preceded by an existing business
relationship with the recipient.

RESPONSE: Crystal Queen objects to this and each of Plaintiff"s requests for admission
because they do not comply with Local Rule 33.l(c), which requires that requests for admissions
be set forth in a separate document Crystal Queen further objects to this request on the grounds
that it is overly broad because it seeks information beyond what is pertinent to the faxing activity
at issue. Crystal Queen further objects to this request on the grounds that it is vague and
ambiguous as to the meaning of the phrases “prior consent” and “existing business relationship”
as used in this request. Crystal Queen further lacks information and knowledge sufficient to
ascertain whether an existing business relationship preceded the fax attached to Plaintiff’ s
Complaint. Crystal Queen further objects to this request because it calls for a legal conclusion
which Crystal Queen is not qualified to make. For these reasons subject to and without waiving

the foregoing objections and further subject to its understanding of this request, Crystal Queen

responds as follows: Deny.

DATED: July 7, 2017 /s/ Mari) Ann L. vaore
Mary Ann L. Wymore, pro hac vice
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Attomeys for Defena'ants Crystal Queen, Inc., and
Rua'olf Galan and Aa’riana Galan (appearing
specially to contest personal jarisdiclion)

CERTIFICATE OF SERVICE

l, the undersigned do hereby certify that a true and correct copy of the foregoing document
has been served upon and sent this date, July 7, 2017, via email to the following:

1670406

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/s/ Mari/ Ann L. Wymore
Mary Ann L. Wymore

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